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14
                           UNITED STATES DISTRICT COURT
15

16                        CENTRAL DISTRICT OF CALIFORNIA
17

18   LIZA GUNAWAN AND DANNY                      Case No.: 8:13cv1356 CJC(AGRx)
     CANLAS, on behalf of themselves and all
19
     others similarly situated,                  DEFENDANT KFORCE INC.’S
20                                               REPLY IN SUPPORT OF ITS
                       Plaintiffs,               MOTION FOR SUMMARY
21
                                                 JUDGMENT
22               v.
23
     HOWROYD-WRIGHT EMPLOYMENT                   Date:         January 27, 2014
24   AGENCY, INC.; KFORCE INC.;                  Time:         1:30 pm
     WORKWAY; and DOES 1-100,                    Courtroom:    9B
25
                                                 Judge:   The Hon. Cormac J. Carney
26                     Defendants.
27

28

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1    I.    INTRODUCTION
2          In her Opposition to Kforce Inc.’s (“Kforce”) Motion, Plaintiff Liza Gunawan
3    continues unsuccessfully to try to fit a square peg into a round hole. Plaintiff persists
4    in trying to squeeze within Sullivan v. Kelly Services, Inc., 2009 U.S. Dist. LEXIS
5    96544 (N.D. Cal. Oct. 16, 2009). Plaintiff contends that Sullivan somehow establishes
6    that she was an “employee” at the time of her Title Resource Group (“TRG”)
7    interview. That decision is inapposite. Not only did that decision not decide whether
8    the plaintiff there was an “employee,” its recognition that her employment with the
9    staffing firm did not begin until the first day of her assignment – despite two previous
10   interviews – is fatal to Plaintiff’s claim seeking pay for time interviewing with TRG.
11   Even more, Plaintiff concedes that she only was “interviewing for employment” during
12   that interview. FAC ¶ 33. “Interviewing for employment” necessarily is preliminary
13   to employment, so Plaintiff admittedly thus cannot have been an “employee” during
14   the interview for which she now seeks to be paid. In her Opposition, Plaintiff sidesteps
15   this concession, which is binding on her as a judicial admission.
16         Plaintiff was an applicant – and not yet an employee – at the time of her TRG
17   interview. The fact that Plaintiff initially had a screening interview with Kforce,
18   followed by a second interview with TRG, to determine whether she would be hired
19   for an initial assignment is unremarkable in the real world hiring process.          The
20   requirement of a second interview did not automatically make Plaintiff an “employee.”
21   Many prospective employers require an applicant to attend second (or even more)
22   interviews as part of the hiring process, in order to complete the process and make a
23   decision. Contrary to Plaintiff’s claims, the fact that a prospective employer requires a
24   second interview – and necessarily schedules a time and place, or asks an applicant to
25   bring certain items to the interview, among other things – does not create an
26   employment relationship. Such a result would be absurd, which the rules of statutory
27   interpretation require the Court to avoid.        It potentially would require every
28   prospective employer to pay an applicant for any second interview.
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1          In reality, when Plaintiff interviewed with TRG, she still was only an applicant
2    in all respects. She previously never had an assignment nor had been employed by
3    Kforce. With the prospective assignment that Kforce was looking to fill at TRG,
4    Plaintiff was merely an applicant with respect to Kforce and TRG.           The second
5    interview – which is very common in employment hiring situations – was necessary
6    for TRG to make a final decision. If favorable, then Plaintiff might be hired through
7    Kforce for this initial assignment. The TRG interview here thus was nothing more
8    than a second interview to determine whether Plaintiff would be hired in the first
9    instance. In a sense, too, both Plaintiff and Kforce were applicants with respect to
10   TRG and the potential initial assignment for Plaintiff at the time of the TRG interview.
11         Even though Plaintiff now claims (without any evidentiary support) that she was
12   “selling” Kforce’s services, or was an “ambassador” or “emissary” on her interview,
13   there is no genuine issue of material fact that Plaintiff was not yet a Kforce employee
14   at that time. However Plaintiff now chooses to characterize herself, she still was only
15   an applicant and candidate then.     In actuality, the undisputed facts establish that
16   Plaintiff never had worked for Kforce before her TRG assignment, her interview with
17   TRG was for an initial assignment, and she did not receive an offer or accept it until
18   after her TRG interview.      Importantly, Plaintiff did not complete any new hire
19   paperwork for Kforce until after her TRG interview, and she received and accepted an
20   offer of the initial assignment. Plaintiff now backtracks and concedes this point.
21         Under any standard, Plaintiff cannot establish that she was an “employee.” She
22   thus cannot be owed any wages for that time. Her First Cause of Action and related
23   claims thus fail. Plaintiff fails to provide argument supporting the various claims in
24   her Second Cause of Action. She also fails to demonstrate that she has a private right
25   of action on the claims in her Third Cause of Action. Her Fourth and Fifth Causes of
26   Action fail as well. Therefore, Kforce’s Motion should be granted.
27   //
28   //
                                                2
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1    II.   THERE IS NO GENUINE ISSUE OF MATERIAL FACT THAT
           PLAINTIFF AND KFORCE HAD NOT FORMED AN EMPLOYMENT
2          RELATIONSHIP WHEN SHE INTERVIEWED WITH TRG.
3          Following Plaintiff’s Opposition, Kforce summarizes the following material
4    facts as undisputed. They demonstrate that there is no genuine issue of material fact
5    that Plaintiff was not an “employee” of Kforce at the time of her interview. Instead,
6    they demonstrate that there was not an employment relationship formed until after the
7    TRG interview.1 Because there are cross-motions, Kforce may rely on materials
8    regardless of the motion under which they were submitted. Fair Housing Council of
9    Riverside County, Inc. v. Riverside Two, 249 F.3d 1132, 1135-1137 (9th Cir. 2001);
10   C.F. v. Capistrano Unified School District, 615 F.Supp.2d 1137, 1140-1141 (C.D. Cal.
11   2009).
12         Plaintiff concedes in her First Amended Complaint that she was only
13   “interviewing for employment” when interviewing at TRG and in related activities.
14   FAC ¶ 33. “Allegations in a complaint are considered judicial admissions.” Hakopian
15   v. Mukasey, 551 F.3d 843, 846 (9th Cir. 2008). This admission concedes that Plaintiff
16   cannot have been an employee at the time, as “interviewing for employment”
17   necessarily precedes being an employee yet. Plaintiff’s admission here that she was
18   not an employee at the time of the TRG interview binds her.
19         Plaintiff does not dispute the following: Kforce locates candidates to fill
20

21   1
       Kforce notes that, again in Plaintiff’s Opposition to Kforce’s Motion, Plaintiff makes
22   numerous unsupported factual assertions, particularly in the introduction to her
     Opposition. Among them, she makes assertions about Kforce’s business and her
23
     alleged role, without any evidentiary support. They also improperly assume that
24   Plaintiff was an “employee” when she interviewed for an initial assignment, making a
     leap in assuming the ultimate issue that Plaintiff must prove. These unsupported
25
     assertions must be disregarded. Plaintiff’s Opposition also appears to have been
26   copied in most respects from her Opposition to Defendant’s Workway’s Motion, as her
     Opposition addressed to Kforce’s Motion several times refers to “Workway” and refers
27
     to arguments by Workway. See, e.g., Dkt. No. 49, pp. 9 n. 5, 11.
28
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1    positions with clients from various sources, including individuals who have submitted
2    their resumes for possible assignment. If Kforce locates a good prospective candidate,
3    it contacts the candidate to discuss interest.    When hired, candidates become a
4    “consultant” as an employee. See UMF Nos. 1-3. In June 2012, Kforce sought to fill a
5    large number of positions for TRG on a quick basis. Based on a resume that Plaintiff
6    submitted, Kforce contacted Plaintiff on June 6, 2012 and invited her for an interview
7    at Kforce’s Irvine office on June 7, 2012. The interview was for an initial assignment,
8    because Plaintiff had not previously worked for Kforce.        See UMF Nos. 4-6, 8.
9    Plaintiff attended the interview at Kforce on June 7, 2012, after which Kforce provided
10   a copy of Plaintiff’s resume to TRG and e-mailed Plaintiff to schedule an interview at
11   TRG for June 8, 2012. Plaintiff confirmed that she would attend. See UMF Nos. 9-13.
12   Plaintiff never asked whether she would be paid for the interview. See UMF No. 14.
13         Plaintiff also does not dispute that she attended the interview on June 8, 2012 at
14   TRG, after which TRG decided to use her for an assignment starting on June 11, 2012.
15   Afterward, Kforce asked her to come in that afternoon to complete her new hire
16   paperwork. See UMF No. 17.2 She further does not dispute that “for her new hire and
17   onboarding paperwork,” Kforce took steps to have it prepared and ready for Plaintiff
18   that afternoon. Plaintiff also does not dispute that she confirmed that she would come
19   in that afternoon “to complete her new hire and onboarding paperwork.” See UMF
20   Nos. 19-20.
21

22   2
      Although Plaintiff purports to dispute Kforce’s UMF No. 18, she fails to show any
23   genuine issue. Plaintiff offers no evidence contradicting the fact that “[w]henever
     Kforce hired a new consultant, such as Plaintiff, it needed the individual to complete a
24   variety of paperwork for Kforce to establish the new employee and for payroll
25   purposes.” Instead, Plaintiff simply claims that she completed an employment
     application for TRG after her initial interview with Kforce. See Dkt. No. 49-1, Pl.’s
26   Statement of Genuine Disputes, UMF No. 18, p. 5. This response fails to show any
27   genuine issue, because completing an employment application alone for another
     company cannot create any employment relationship, much less with Kforce.
28
                                                4
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1          With respect to the new hire and onboarding paperwork, Plaintiff does not
2    dispute that Kforce’s standard practice has been to prepare such paperwork only after
3    an individual has been offered a position with a client, the individual accepts the offer,
4    and Kforce’s Service Coordinator receives a Start Sheet with necessary information.
5    See UMF No. 21. See also Dkt. No. 35-6, Chandler Decl. ¶ 9, Exh. B, p. 1 (Kforce
6    Candidate Profile showing offer and acceptance of position on afternoon of June 8,
7    2012). Kforce’s Account Manager and Talent Director, Jerri Filicicchia, submitted
8    Plaintiff’s Start Sheet on June 8, 2012 after the TRG interview, after which Kforce’s
9    Service Coordinator prepared new hire and onboarding paperwork for Plaintiff – as
10   Plaintiff does not dispute. See UMF No. 22. Kforce’s standard practice has been to
11   add a new consultant, such as Plaintiff, to payroll only after receiving the signed new
12   hire and onboarding paperwork – which Plaintiff again does not dispute. See UMF
13   No. 24.3
14         Plaintiff does not dispute that she completed and signed her new hire and
15   onboarding documents on the afternoon of June 8, 2012 at Kforce’s office – after the
16   TRG interview and after she accepted an offer of an assignment with TRG through
17   Kforce.    At that time, Plaintiff completed and signed a Kforce Employment
18   Application, Kforce’s Background & Credit Check Authorization & Release Form, an
19   Employee Agreement, Kforce Pre-Employment Drug Screen Consent and Release
20   Form, Kforce’s Confidential Information Agreement, a California employee wage
21   disclosure notice, an Acknowledgement of Kforce’s Employment Policies, an
22   Acknowledgement of Kforce’s 2012 Hourly Consultant Benefit Fact Sheet, a Kforce
23   Hourly Consultant Emergency Contact Sheet, and an Employee Work Assignment
24

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     3
26     Plaintiff has marked these facts as “Undisputed,” while claiming that she has no
     knowledge. Because she has not disputed them and has not adduced any contrary
27
     evidence, there is no genuine issue of material fact.
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                                                 5
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1    form. All of these items were dated June 8, 2012. See UMF No. 23; Dkt. No. 35-4,
2    Rodriguez Decl. ¶¶ 6-18, Exh. A-K; Dkt. No. 35-5, Torres Decl. ¶¶ 6-8.
3          Earlier, with respect to her cross-motion, Plaintiff attempted to claim that she
4    completed this new hire paperwork on June 7, 2012. See Dkt. No. 36-4, Gunawan
5    Decl. ¶ 7. Now, after being confronted with Kforce’s evidence, Plaintiff backtracks
6    and concedes that she “initially thought she completed these documents on June 7, but
7    she actually completed them on June 8.” Dkt. No. 49-1, Pl.’s Statement of Genuine
8    Disputes, p. 6, UMF No. 23. Instead, Plaintiff now claims that she completed an
9    employment application for TRG on June 7, 2012, before her TRG interview, with all
10   of the new hire paperwork after her TRG interview. See Dkt. No. 49-2, Gunawan
11   Decl. ¶¶ 4, 8.    This turnabout brings Plaintiff’s position in line with Kforce’s
12   undisputed facts, in which Kforce e-mailed her a copy of TRG’s Employment
13   Application on June 7, 2012 and that Plaintiff needed to complete it. See UMF No. 11;
14   Dkt. No. 35-3, Filicicchia Decl. ¶ 5, Exh. A. Quite obviously, completing a mere
15   employment application for another company is not sufficient to create an employment
16   relationship with Kforce or anyone.
17         While Plaintiff now attempts to deny that two Kforce representatives told her
18   that there was no guarantee of employment and that she would not be a Kforce
19   employee unless hired for an assignment, there still is no genuine issue of material fact
20   precluding the determination that there was no employment relationship at the time of
21   Plaintiff’s TRG interview. In Opposition, Plaintiff now denies that Kforce’s Recruiter
22   Lauren Chandler and Filicicchia told her these things. Dkt. No. 49-2, Gunawan Decl.
23   ¶¶ 2-3. However, significantly, Plaintiff does not dispute that Chandler told her that
24   the TRG prospect was “only an opportunity.” See Dkt. No. 49-1, Pl.’s Statement of
25   Genuine Disputes, UMF No. 7; Dkt. No. 49-2, Gunawan Decl. ¶ 2; Dkt. No. 35-6,
26   Chandler Decl. ¶ 7. Plaintiff also does not dispute that Filicicchia told her that, just
27   because Plaintiff interviewed with a Kforce client, the interview did not mean that she
28   would be hired by anyone. See Dkt. No. 49-1, Pl.’s Statement of Genuine Disputes,
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1    UMF No. 16; Dkt 49-2, Gunawan Decl. ¶ 3; Dkt. No. 35-3, Filicicchia Decl. ¶ 13.
2          Finally, in Opposition to Kforce’s Motion, Plaintiff now declares that after her
3    initial interview with Kforce on June 7, 2012, “I thought I was signed up and registered
4    for Kforce and I was ready to act as their representative.” Dkt. No. 49-2, Gunawan
5    Decl. ¶ 3. Curiously, this statement appeared for the first time in Plaintiff’s Opposition
6    to Kforce’s Motion.     Nothing even similar appeared in Plaintiff’s declaration in
7    support of her simultaneous Cross-Motion for Partial Summary Judgment, even though
8    it involves the same issue of whether there was an employment relationship at the time
9    of her TRG interview. See generally Dkt. No. 36-4, Gunawan Decl.4
10         Still, Plaintiff’s vague, conclusory, and self-serving statement does not create
11   any genuine issue of material fact. It does not show that Plaintiff was an employee
12   after her initial interview with Kforce – nor does it even show a subjective belief that
13   Plaintiff thought she was. Being “signed up and registered” does not mean Plaintiff
14   was an employee, but rather that she was only in consideration for possible
15   employment if at least an assignment arose. In addition, being “ready to act as their
16   representative” also proves nothing. It shows simply that Plaintiff was “ready” to
17   work for Kforce if she obtained an assignment. This statement especially does not
18   support the existence of an employment relationship – or even the subjective belief of
19   one – in light of the undisputed facts that Plaintiff had not yet completed any new hire
20   and onboarding paperwork for Kforce, as well as the undisputed facts that Chandler
21   told her that TRG was “only an opportunity” and Filicicchia told her that, just because
22   Plaintiff interviewed with a Kforce client, the interview did not mean that she would be
23   hired by anyone. Accordingly, the undisputed facts demonstrate that there was no
24

25   4
       Even though Plaintiff’s previous declaration was in support of her cross-motion, the
26   Court also considers it with respect to this motion and thus cannot ignore this
     seemingly convenient and suspicious change to Plaintiff’s story. C.F. v. Capistrano
27
     Unified School District, 615 F.Supp.2d 1137, 1140-1141 (C.D. Cal. 2009).
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1    employment relationship with Kforce when Plaintiff interviewed with TRG.
2    III. LEGAL ARGUMENT
3          A.     Plaintiff’s First Cause of Action Fails Because She Was Not An
                  “Employee” During Her TRG Interview.
4

5           Plaintiff’s First Cause of Action for minimum wage fails because she was not an
6       “employee” at the time of her TRG interview. At that time, Plaintiff was only an
7     applicant, still interviewing for an initial assignment and possible hire by Kforce. She
8                has not shown any genuine issue of material fact to the contrary.
9          At the outset, Plaintiff overlooks some key points that must be emphasized.
10   First, an employment relationship is a requisite to any wages being due, a point that is
11   “logically inevitable as no generally applicable rule of law imposes on anyone other
12   than an employer a duty to pay wages.” Martinez v. Combs, 49 Cal.4th 35, 49 (2010).
13   Second, as another logical point that California law recognizes generally in the
14   employment context: “Almost as a matter of definition, a job applicant or seeker of
15   employment is not an employee.”          State Compensation Ins. Fund v. Worker’s
16   Compensation Appeals Board, 59 Cal.App.3d 647, 654 (1976). See also Mitchell v.
17   Hizer, 73 Cal.App.3d 499, 504 (1977)(“a job applicant is not an employee”).
18         In addition, on the whole, Plaintiff misstates the critical issue as whether Kforce
19   “exhibited sufficient control” over the interview process and thus owes wages. Pl.
20   Opp., p. 2: 6-8. Wrapping her claim around Sullivan, she notes its holding that “a
21   staffing agency was required to compensate its employees for time spent interviewing
22   with clients.”   Id. at 2: 8-12 (emphasis added).        The “employee” part is what
23   distinguishes Sullivan from Plaintiff’s case.     Sullivan involved an individual who
24   completed a staffing agency assignment and then went on interviews for a new
25   assignment. In a previous decision, the Sullivan court determined that the plaintiff
26   continued to be an “employee” after her assignment ended. Sullivan v. Kelly Services,
27   Inc., 2008 U.S. Dist. LEXIS 91608, at *2-*3, *7-*9 (N.D. Cal. Nov. 12,
28   2008)(hereinafter, “Sullivan I”).
                                                 8
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1          Plaintiff ignores the earlier decision and this critical point: As a result of the
2    determination in Sullivan I that the plaintiff still was an “employee,” the decision on
3    which Plaintiff bases her claim simply treated the employment relationship issue as res
4    judicata. Sullivan v. Kelly Services, Inc., 2009 U.S. Dist. LEXIS 96544, at *16-*17
5    and n. 4 (N.D. Cal. Oct. 16, 2009)(hereinafter, “Sullivan II”). Because, the plaintiff in
6    Sullivan still was an “employee” when she went on subsequent interviews, she sought
7    payment of wages in Sullivan II. The Sullivan II court’s analysis of “control” of
8    interview time thus went to a much different question of whether the interviews
9    constituted “hours worked” for which an employee needed to be paid – rather than if
10   the plaintiff there was an “employee” in the first instance. See id. at *9-*18. To be
11   clear, contrary to Plaintiff’s distortions, nothing in Sullivan II held that sending an
12   individual on an interview or any purported control over that process made her an
13   “employee.”5
14         In reality, rather than helping Plaintiff, the Sullivan decisions devastate her
15   claim. In another critical point that Plaintiff ignores, Sullivan II held that someone in
16   Plaintiff’s position – interviewing for an initial assignment – is not yet an “employee.”
17   There, the court held that employment did not start when the individual had initial
18   interviews, but rather the “employment relationship” began on the “first day of her first
19   temporary assignment” with one of the firm’s clients. Sullivan II, supra, 2009 U.S.
20   Dist. LEXIS 96544, at *3 (emphasis added). Even more, the plaintiff in Sullivan had
21   two interviews before her initial assignment and when the court found that she became
22   an “employee.” Sullivan I, supra, 2008 U.S. Dist. LEXIS, at *2. On these points
23   alone, Plaintiff’s claim fails under the Sullivan decisions. As discussed below, her
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26     Kforce’s Opposition to Plaintiff’s Cross-Motion for Partial Summary Judgment
     contains a detailed discussion of the Sullivan decisions. See Dkt. No. 52, Kforce Opp.
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     to Pl.’s MSJ, pp. 10-13, 16-17.
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1    claim also fails on all other bases as well.
2                 1.     Kforce Did Not Exercise Control Over Plaintiff’s Wages,
                         Hours, and Working Conditions With Respect to the TRG
3                        Interview.
4          Kforce was not Plaintiff’s employer at the time of the TRG interview under the
5    test “to exercise control over the wages, hours or working conditions.” Martinez,
6    supra, 49 Cal.4th at 64.
7          As discussed in Kforce’s previous briefing, Kforce did not exercise control over
8    these aspects because an applicant’s interview for initial employment precedes
9    employment, and thus logically does not involve having to set wages, hours, or
10   working conditions.        As the Labor Commissioner recognizes, a simple pre-
11   employment interview or even “tryout time” does not form an employment
12   relationship and is not work. See Dkt 35-2, Kforce Req. for Jud. Not., Exh. A, DLSE
13   Manual, § 46.7, p. 46-5. The fact that Kforce scheduled an agreeable time for the TRG
14   interview does not create an employment relationship. By necessity, a prospective
15   employer must schedule a time for an interview, rather than unrealistically allowing an
16   applicant to attend whenever she sees fit.
17         In addition, Plaintiff conceded that she only was “interviewing for employment”
18   at the time of the TRG interview. FAC ¶ 33. The undisputed facts further show that
19   no new hire paperwork was completed – including items setting Plaintiff’s pay rate –
20   until after her TRG interview, and after Plaintiff had been offered and accepted the
21   assignment. See UMF No. 23; Dkt. No. 35-4, Rodriguez Decl. ¶¶ 14, 18, Exh. G, K.
22         In her Opposition, Plaintiff insists that Kforce was her employer at the time of
23   the TRG interview simply because it “as the prospective employer, set up an interview
24   with Plaintiff, the prospective employee.” Dkt. No. 49, Pl. Opp., p. 5: 21-23 (emphasis
25   added). As stated, this argument again concedes that there was not an employment
26   relationship at the time of the interview. Still, even so, Plaintiff has not shown any
27   genuine issue of material fact with respect to whether Kforce exercised control over
28   her wages, hours, or working conditions such as to be her “employer” when she
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1    interviewed with TRG.
2          Plaintiff first claims that Kforce exercised control over her wages merely by not
3    paying her for the TRG interview time. Dkt No. 49, Pl. Opp., p. 6: 5-6, 15-19. This
4    argument essentially and incorrectly assumes an employment relationship in the first
5    instance, rather than looking at whether there was an existing employment relationship
6    in which Kforce then exercised control. The language of the test focuses on an
7    affirmative act “to exercise control” and set wages, rather than inaction. Martinez,
8    supra, 49 Cal.4th at 64. See also Futrell v. Payday California, Inc., 190 Cal.App.4th
9    1419, 1429 (2010)(requiring entity to have “exercised control” over wages to be an
10   employer). That point would not – and did not – arrive until after the interview, and
11   after Plaintiff accepted the TRG assignment and was hired by Kforce. While Kforce
12   could negotiate Plaintiff’s wage rate with TRG for an assignment, that point also
13   would not have any relevance until after Plaintiff had accepted the assignment and
14   been hired. That downstream possibility did not make Plaintiff an employee when she
15   simply interviewed.
16         Plaintiff’s argument here is absurd, as it would make anyone who did not pay
17   wages an “employer.” Under her reasoning, every prospective employer would be an
18   “employer” for the purposes of an interview regardless of whether it paid the
19   prospective employee for the time or not.        Such an absurd interpretation of the
20   definition of “employer” must be avoided. MacIssac v. Waste Management Collection
21   & Recycling, 134 Cal.App.4th 1076, 1083 (2005).          See also Martinez, supra, 49
22   Cal.4th at 73-74 (refusing to extend “employer” definition to absurd result).6
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24   6
       Martinez was a case of alleged joint employment. As the California Supreme Court
25   recognized, the test of whether a party exercised control over wages, hours, or working
     conditions aims more at alleged joint employment situations “in which multiple
26   entities control different aspects of the employment relationship,” rather than for
27   determining whether (as here) a single party was an “employer.” Martinez v. Combs,
     49 Cal.4th 35, 59 (2010). For that reason, cases finding liability under this prong have
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1          Next, Plaintiff argues that Kforce exercised control over her “hours” and thus
2    was her “employer” because it set the interview time. See Dkt. No. 49, Pl. Opp., p. 6:
3    6-7, 14-15. Nonsense. This argument again presupposes an employment relationship.
4    However, as discussed, the Labor Commissioner holds that simple pre-employment
5    interviews and even “tryout time” do not create an employment relationship or have to
6    be paid because they are not “work.” Obviously, setting a time is a necessity for an
7    interview with an applicant. It is illogical to argue that such an act alone creates an
8    employment relationship, which would yield an absurd result of a prospective
9    employer having to pay for any interview that it scheduled. The evidence also does
10   not support Plaintiff’s contention that Kforce somehow ordered her to attend an
11   interview at a particular time.    Rather, Kforce simply informed Plaintiff of the
12   proposed time and place and asked her to confirm, which Plaintiff did, adding “Thank
13   you for your quick respond.” Dkt. No. 35-3, Filicicchia Decl. ¶¶ 5-7, Exh. A-C.
14   Plaintiff has not produced any evidence that she could not have asked to interview at a
15   different time.
16         Plaintiff further argues that Kforce somehow exercised control over her
17   “working conditions,” apparently because it could determine who to hire and fire and
18   handled various aspects related to the interview. Dkt. No. 49, Pl. Opp., pp. 6-7.
19   Again, this argument essentially assumes an employment relationship in the first
20   instance. The fact that Kforce obviously could decide who to hire in the interview
21   process proves nothing. Unquestionably, a prospective employer does decide whom to
22   hire, but Plaintiff’s argument would make every prospective employer who interviews
23   an “employer” of everyone it interviews merely because it could decide to hire – an
24   absurd result. Moreover, again, this argument collapses because a mere interview for
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26   involved joint employment situations. See, e.g, Arredondo v. Delano Farms Co., 922
     F.Supp.2d 1071, 1087-1089 (E.D. Cal. 2013)(company held to be “employer” when it
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     exercised control over wages by setting pay rates for contractor’s employees).
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1    initial employment cannot involve “working conditions” when an employment
2    relationship does not yet exist. Again, as discussed, the Labor Commissioner has not
3    treated simple pre-employment interviews or even “tryout time” as “work,” much less
4    creating an employment relationship.
5           Finally, Plaintiff falls back into trying to fit her case within Sullivan II on these
6    issues. Id. at pp. 7-8. She incorrectly asserts that the Sullivan II court held that the
7    staffing firm there “employed the plaintiff for purposes of sending the plaintiff out on
8    interviews with client.” Id. at p. 8: 1-3. As discussed above, this claim is incorrect and
9    misrepresents Sullivan II, as the factors Plaintiff lists from that case were not used to
10   determine whether the plaintiff there was an “employee.” Sullivan, supra, 2009 U.S.
11   Dist. LEXIS 96544, at *9-*18. Plaintiff also incorrectly asserts that Sullivan II applied
12   the same test from Martinez. Dkt. No. 49, Pl. Opp., p. 8. It did not. Again, Sullivan II
13   and Martinez involved very different questions.          Sullivan II concerned whether
14   someone already found to be an “employee” was owed wages for interview time as
15   “hours worked” under the two definitions of that term in the wage order. Sullivan II,
16   supra, 2009 U.S. Dist. LEXIS 96544, at *9-*18. Martinez, on the other hand, involved
17   the threshold issue of whether an individual was an “employee” at all and applied
18   different tests under different provisions and definitions in the wage order. Martinez,
19   supra, 49 Cal.4th at 57-59.
20          Still, even assuming, arguendo, that Sullivan II applied the same test, Plaintiff
21   cannot escape its fatal conclusion that the plaintiff’s “employment relationship” did not
22   begin until the “first day of her first temporary assignment.” Sullivan II, supra, 2009
23   U.S. Dist. LEXIS 96544, at *3. That holding precludes Plaintiff’s claim. In sum,
24   Sullivan II is no help to Plaintiff.7
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       Plaintiff also repeats her reliance on the unreported state trial court order in the
27   AppleOne case. See Dkt. No. 49, Pl. Opp., pp. 8-9. That case and order are
     completely inapposite, as discussed in Kforce’s Opposition to Plaintiff’s cross-motion.
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1          Accordingly, under the facts and law, Plaintiff has not shown any genuine issue
2    of material fact with respect to whether Kforce somehow exercised control over her
3    wages, hours, or working conditions when she interviewed with TRG. She still was
4    only an applicant, not an “employee” then.
5                   2.      Kforce Did Not Suffer or Permit Plaintiff to Work.
6          Kforce did not “suffer or permit” Plaintiff “to work” during her TRG interview.
7    Martinez, supra, 49 Cal.4th at 64. As Kforce has argued, the time was only an
8    interview of an applicant for an initial assignment, with no previous employment
9    relationship. Because there was only an interview rather than any productive work
10   performed, Plaintiff cannot have been suffered or permitted to work. Again, the Labor
11   Commissioner has held that pre-employment interview or even “tryout” time is not
12   “work,” as long as there is no training, the individual performs no productive work,
13   and the length of time is reasonable. See Dkt. No. 35-2, Kforce Req. for Jud. Not.,
14   Exh. A, DLSE Manual, § 46.7, p. 46-5. Plaintiff has not demonstrated any genuine
15   issue of material fact otherwise.
16         Here, there is no evidence or claim that Plaintiff did anything other than be
17   interviewed.        She claims that the interview lasted an hour.   Under the Labor
18   Commissioner’s persuasive authority, this time would not constitute work, so Plaintiff
19   thus cannot have been suffered or permitted to work. Plaintiff disagrees with the
20   Labor Commissioner’s interpretation on all three points, but never gives any specific
21   argument why. Instead, she repeats at length her arguments about Kforce’s alleged
22   control of the interview process.      See Dkt. No. 49, Pl. Opp., pp. 10-12.    Those
23   arguments have no relevance to the actual question of whether she, in fact, performed
24   work.8
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27    Plaintiff’s discussion here also veers into several irrelevant references to Workway.
     She also attributes at least one point to Kforce that it never argued, claiming that
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1          Nor, contrary to Plaintiff’s argument again, does anything in Sullivan II
2    establish that Plaintiff was suffered and permitted to work such that an employment
3    relationship formed solely from the TRG interview. As discussed, Sullivan II held that
4    the employment relationship did not begin until the “first day of her first temporary
5    assignment.” Sullivan II, supra, 2009 U.S. Dist. LEXIS 96544, at *3. Moreover,
6    rather than working or forming an employment relationship, Plaintiff has admitted that
7    she only was “interviewing for employment.” FAC ¶ 33. Simply put, there is no
8    genuine issue of material fact that Plaintiff was not suffered or permitted to work.
9                 3.     Kforce and Plaintiff Did Not Form a Common Law
                         Employment Relationship.
10

11         Finally, Kforce and Plaintiff did not form a common law employment
12   relationship at the time of her TRG interview. Plaintiff has not demonstrated any
13   genuine issue of material fact on this point either.
14         Plaintiff again repeats all of the ways in which she contends Kforce controlled
15   aspects related to her TRG interview. See Dkt. No. 49, Pl. Opp., pp. 13-14. However,
16   contrary to her argument, the common law employment relationship test does not
17   involve an analysis of “control” in the abstract. Rather, it focuses on “control of the
18   details” in the sense of “whether the principal has the right to control the manner and
19   means by which the worker accomplishes the work.”            Estrada v. FedEx Ground
20   Package System, Inc., 154 Cal.App.4th 1, 10 (emphasis added). Importantly, this test
21   requires that there be actual “work” as a prerequisite.9
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     Kforce argued that “a client must agree to pay Kforce in order to trigger an
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     employment relationship.” Dkt. No. 49, Pl. Opp., p. 11: 20-21.
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       Futrell v. Payday California, Inc., 190 Cal.App.4th 1419 (2010), applied the
26   independent contractor test from S.G. Borello & Sons, Inc. v. Dept. of Industrial
27   Relations, 48 Cal.3d 341 (1989). Futrell, supra, 190 Cal.App.4th at 1434. In
     Martinez, the California Supreme Court declined to decide whether the Borello test
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1          As discussed above, Plaintiff did not perform any work in her interview. She
2    was not suffered or permitted to work. Under the Labor Commissioner’s persuasive
3    authority, the simple pre-employment interview cannot constitute work or be sufficient
4    to form an employment relationship. In addition, Plaintiff emphasizes that Kforce
5    gave Plaintiff tips before the interview and told her how to prepare. Those activities
6    are not sufficient “control” to constitute hours worked, as Sullivan II held that
7    interview preparation and similar activities were not compensable. Sullivan II, supra,
8    2009 U.S. Dist. LEXIS 96544, at *15 (preparation and debriefing not compensable,
9    because “[t]ime spent on these activities merely made Plaintiff a better applicant.”)
10         Kforce has addressed in its other briefing how the factors also presuppose the
11   performance of “work,” as well as how the various factors in the test either do not
12   apply or favor Kforce. A critical factor is “whether the parties believe they are
13   creating an employer-employee relationship.” Estrada, supra, 154 Cal.App.4th at 10.
14   Without support, Plaintiff asserts that the parties believed they were creating an
15   employer-employee relationship merely by the fact of the interview. Dkt. No. 49, Pl.
16   Opp., p. 9: 25-27. The undisputed facts and evidence demonstrate the contrary. First,
17   Plaintiff conceded she was only “interviewing for employment,” not forming an
18   employment relationship at the time. FAC ¶ 33. Plus, it is undisputed that Plaintiff
19   never asked whether she would be paid for the interview, and Plaintiff was not given
20   and did not complete any new hire paperwork until after the TRG interview. See UMF
21   Nos. 14, 19-24. Also, as discussed, Plaintiff has not disputed that she was told that the
22   TRG interview was “only an opportunity” and that her interview did not mean that she
23   would be hired by anyone. UMF Nos. 7, 16. On these facts, the parties – or any
24   commonsense person – cannot have believed that they were creating an employment
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     “has any relevance to wage claims,” and held it did not help the plaintiffs’ case
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     anyway. Martinez v. Combs, 49 Cal.4th 35, 73 (2010).
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1    relationship based on a mere interview for a possible initial assignment.
2          Accordingly, there is no genuine issue of material fact with respect to whether
3    Plaintiff was an “employee” when she interviewed with TRG. She was only an
4    applicant and thus not due wages. Her First Cause of Action should be dismissed.
5          B.     Plaintiff’s Itemized Wage Statement Claims in Her Second Cause of
                  Action Should be Dismissed, As Sought in Kforce’s Motion.
6

7          Except for a brief footnote, without citing any evidence or legal authority,
8    Plaintiff fails to make any argument with respect to her Second Cause of Action. See
9    Dkt. No. 49, Pl. Opp., p. 15: 26-28. She has not demonstrated any genuine issue of
10   material fact with respect to the parts of the Second Cause of Action on which Kforce
11   seeks summary judgment.
12         Plaintiff’s only argument is that her wage statement claim “is derivative of her
13   claim for failure to pay minimum wage.” Id. at p. 15: 26-27. To the extent that
14   Plaintiff’s Second Cause of Action covers that issue, it fails because Plaintiff cannot
15   establish the minimum wage claim in her First Cause of Action. Even so, this part of
16   the Second Cause of Action still fails because Plaintiff cannot recover any penalty
17   because any failure to issue an itemized wage payment statement for her interview
18   time was not the result of a “knowing and intentional” failure. Cal. Labor Code §
19   226(e)(1). As Kforce argued in its Motion, no case previously has held that interview
20   time for initial employment is compensable, so there cannot have been a knowing and
21   intentional failure. Sullivan I, supra, 2009 U.S. Dist. LEXIS, *19. Plaintiff offers no
22   argument on this point, thus conceding it.
23         Plaintiff’s failure to offer any argument on the remaining claims in her Second
24   Cause of Action, as raised in Kforce’s Motion, also requires that they be dismissed.
25   The Court “is not required to comb the record to find some reason to deny a motion for
26   summary judgment.” Carmen v. San Francisco Unified School Dist., 237 F.3d 1026,
27   1029 (9th Cir. 2001). Nor is the Court obligated to fashion legal arguments when
28   Plaintiff failed to do so. Smith v. Marsh, 194 F.3d 1045, 1052 n. 5 (9th Cir. 1999).
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1          With respect to her claim that her wage statements did not list her year-to-date
2    earnings, Plaintiff fails to offer any argument disputing the fact that the statute does not
3    require that information. See Cal. Labor Code § 226(a). She does not dispute that her
4    claim that Kforce did not list TRG, or separate her earnings by assignment, fails
5    because that provision was not effective until July 1, 2013 – after she no longer was on
6    assignment for Kforce. See Cal. Labor Code § 226(a)(9); UMF No. 26. Plaintiff also
7    does not dispute that her wage statements had her employee number as required by
8    law, a point that she now concedes. See UMF No. 35.
9          Furthermore, Plaintiff offers no argument concerning whether or not the final
10   wage payment statement accurately showed the $310.86 in net pay for the last week of
11   her TRG assignment. Even more, she offers no evidence that she suffered any injury
12   as a result, which is required for any recovery. Elliott v. Spherion Pacific Work, LLC,
13   572 F.Supp.2d 1169, 1181 (C.D. Cal. 2008). See also Loud v. Eden Medical Center,
14   2013 U.S. Dist. LEXIS 122873, at *36-*37 (N.D. Cal Aug. 28, 2013) (injury requires
15   more than missing information.) The itemized wage statement clearly showed this
16   amount was paid to Plaintiff on a “Flex Pay Card,” allowing her to promptly and easily
17   know her net pay. See FAC, Exh. B. She also admittedly knew the amount of her net
18   pay, thus experiencing no confusion or injury. See FAC ¶ 58; Loud, supra, 2013 U.S.
19   Dist. LEXIS 122873, at *31-*32.10
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21   10
        Plaintiff cannot claim any benefit from subsequent revisions to Labor Code section
22   226 defining when an employee is “deemed to suffer injury.” Cal. Labor Code §
23   226(e)(2)(B)(i). These changes were not effective until January 1, 2013 – after
     Plaintiff was issued the wage payment statement at issue and had finished her TRG
24   assignment. See Cal. Const., Art. IV, § 8(c)(1)-(2)(California legislation effective on
25   January 1 following enactment); Cal. Stats. 2012, ch. 843 (S.B. 1255), § 1 (amending
     statute); UMF No. 26. California legislation generally is not retroactive, especially
26   when – as here – there is no indication that the change have any retroactive effect. See
27   Evangelatos v. Superior Court, 44 Cal.3d 1188, 1193-1194 (1988). In any event, as
     discussed, Plaintiff was able to “promptly and easily determine” her net pay of $310.86
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1          Accordingly, the parts of Plaintiff’s Second Cause of Action identified in
2    Kforce’s Motion should be dismissed, as there is no genuine issue of material fact. See
3    Fed. R. Civ. P. 56(a)(summary judgment may be granted on “part of each claim” as
4    identified in motion).
5          C.     Plaintiff’s Third Cause of Action Must Be Dismissed Because Plaintiff
                  Lacks a Private Right of Action.
6

7          Plaintiff’s Third Cause of Action – brought under Labor Code sections 212, 213,
8    221, and 223 – must be dismissed because Plaintiff lacks a private right of action under
9    these statutes.
10         In her Opposition, Plaintiff offers no authority supporting a private right of
11   action allowing her to sue directly under these laws. Plaintiff’s reliance on Fleming v.
12   Dollar Tree Stores, Inc., 2006 U.S. Dist. LEXIS 67749 (N.D. Cal. Sept. 15, 2006) is
13   unavailing. Fleming discussed the mechanics of Labor Code section 212, as well as
14   whether the law is constitutional or pre-empted by federal law. However, nothing in
15   Fleming addressed whether there is a private right of action under Labor Code 212 or
16   the other statutes, which the case did not even mention. See generally id. Thus,
17   Fleming affords no support to Plaintiff. Consequently, based on the authority offered
18   by Kforce demonstrating that Plaintiff lacks a private right of action under any of these
19   statutes, summary judgment must be granted in favor of Kforce on the Third Cause of
20   Action.
21         Plaintiff makes a misplaced argument that her Third Cause of Action somehow
22   seeks to recover penalties under the Labor Code Private Attorney General Act
23   (“PAGA”), specifically referencing penalties under Labor Code section 225.5. See
24   Dkt. No. 49, Pl. Opp., pp. 15-16. Those civil penalties “shall be recovered by the
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26   from looking at the wage statement. Cal. Labor Code § 226(e)(2)(B); FAC, Exh. B.
     Moreover, Plaintiff’s failure to offer any argument also requires granting summary
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     judgment on this issue.
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1    Labor Commissioner,” with any civil action brought by the Labor Commissioner. Cal.
2    Labor Code § 225.5(b). An aggrieved employee may bring an action under PAGA for
3    civil penalties for the violation of various Labor Code provisions, following proper
4    administrative exhaustion. See Cal. Labor Code § 2699.3, 2699.5. However, rather
5    than being a direct suit under the provision allegedly violated, “a PAGA claim is a
6    separate cause of action.” Mathias v. Rent-A-Center, Inc., 2010 U.S. Dist. LEXIS
7    121485, at *8-*9 (E.D. Cal. Oct. 28, 2010). See also Cal. Labor Code § 2699.3(a)(“A
8    civil action by an aggrieved employee pursuant to subdivision (a) or (f) of Section
9    2699 alleging a violation of any provision listed in Section 2699.5”).
10         PAGA is completely unavailing to save this claim. Plaintiff’s Third Cause of
11   Action is not brought under PAGA, but rather only under Labor Code sections 212,
12   213, 221, and 223 – which do not afford a private right of action. It does not mention
13   Labor Code section 225.5, on which Plaintiff now purports to sue. The Third Cause of
14   Action does not seek any civil penalties, nor does the Prayer for Relief. See FAC ¶¶
15   68-83, 105-108. Even more, while Plaintiff claims that she exhausted administratively,
16   her First Amended Complaint contains no cause of action under PAGA. Simply put,
17   PAGA is no help to Plaintiff here and does not give her a private right of action.
18         In any event, Plaintiff cannot establish a claim related to the paycard. It is
19   undisputed that Kforce’s paycards enable an employee to withdraw all of her wages in
20   full without fee. See UMF No. 33. Plaintiff does not dispute that she was paid in full.
21   See Dkt. 49, Pl. Opp., p. 4: 1-2. She has offered no evidence that she incurred any fee,
22   nor does she even argue here that she did. Accordingly, Plaintiff’s Third Cause of
23   Action should be dismissed.11
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26      Plaintiff further fails to offer any argument on Kforce’s argument that she cannot
     recover punitive damages on her Third Cause of Action, thus conceding that issue as
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     well.
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1                 D.    Plaintiff’s Fourth Cause of Action for Waiting Time Penalties Fails.
2                 Plaintiff’s Fourth Cause of Action for waiting time penalties must be dismissed
3    with respect to her claim for wages for interview time. This portion of the claim fails
4    automatically along with Plaintiff’s First Cause of Action. Even if the First Cause of
5    Action remained, Plaintiff’s waiting time penalty claim still must be dismissed because
6    there is a good faith dispute with respect to whether Kforce owed pay for the interview
7    time at issue in any event, as discussed in Kforce’s moving papers.                  No court
8    previously has held that such time must be compensated, making any wages due
9    subject to a good faith dispute.            See, e.g., Amaral v. Cintas Corp. No. 2, 163
10   Cal.App.4th 1157, 1200-1204 (2008). In her Opposition, Plaintiff fails to offer any
11   argument disputing this point. See Dkt. 49, Pl. Opp., pp. 17-18. Accordingly, the part
12   of Plaintiff’s Fourth Cause of Action related to interview pay should be dismissed.12
13   IV.          CONCLUSION
14                For these reasons, Kforce respectfully requests that the Court grant its Motion.
15   Dated: January 6, 2014                       NIXON PEABODY LLP
16

17                                                By:            /s/ Paul R. Lynd
                                                           Paul R. Lynd
18
                                                           Attorneys for Defendant
19                                                         KFORCE INC.
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     12
        Plaintiff also fails to offer any specific argument concerning her Fifth Cause of
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     Action under the Unfair Competition Law (Cal. Bus. & Prof. Code § 17200 et seq.).
26   With respect to Plaintiff’s minimum wage claim, this cause of action is derivative and
     fails for the same reason. Otherwise, the Fifth Cause of Action fails for the reasons set
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     forth in Kforce’s moving papers.
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                                                      21
     KFORCE INC.’S REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
